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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                           DELTA DIVISION

CRAYTONIA BADGER                                                           PLAINTIFF

v.                        CASE NO. 2:20-CV-00217-BSM

BUREAU OF PRISONS                                                        DEFENDANT

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED, this 30th day of December, 2020.


                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
